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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA
                          Plaintiff,
                     v.
                                                          Civil Action No. 1:21-cv-02886-FYP
 BERTELSMANN SE & CO. KGaA,
 PENGUIN RANDOM HOUSE, LLC,
 VIACOMCBS, INC., and
 SIMON & SCHUSTER, INC.
                          Defendants.

   JOINT MOTION FOR RELEASE OF TRANSCRIPT OF SEALED CONFERENCE

       On March 30, 2022, this Court held a conference under seal. Plaintiff United States of

America and Defendants Bertelsmann SE & Co. KGaA, Penguin Random House, LLC,

ViacomCBS, Inc., and Simon & Schuster, Inc. (collectively, the “Parties”) hereby jointly move

for the limited release of the transcript to the counsel of record for the Parties.
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Dated: April 4, 2022              Respectfully submitted,


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